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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO


MOSES WALKER,                                 )       CASE NO. 1:07 CV 3239
                                              )
               Plaintiff,                     )
                                              )       JUDGE KATHLEEN M. O’MALLEY
         v.                                   )
                                              )
JIMMY DIMORA, et al.,                         )       JUDGMENT ENTRY
                                              )
               Defendants.                    )



               This court having contemporaneously filed its Memorandum of Opinion in this case,

it is therefore ORDERED that this action is dismissed pursuant to 28 U.S.C. § 1915(e), without

prejudice to any claims the plaintiff may assert under state law. Further, the court CERTIFIES

pursuant to 28 U.S.C. §1915(a)(3) that an appeal from this decision could not be taken in good faith.

               IT IS SO ORDERED.


                                              s/ Kathleen M. O’Malley
                                              KATHLEEN M. O’MALLEY
                                              UNITED STATES DISTRICT JUDGE
DATED: January 14, 2008
